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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Shervin Pishevar,                                                    CASE NUMBER

                                                                                     2:21-mc-00175-JAK-MAA
                                                      PLAINTIFF(S)
                                    v.
Sam Anson,                                                                  ORDER TO REASSIGN CASE UPON
                                                                            RECUSAL OF MAGISTRATE JUDGE
                                                                                   FOR DISCOVERY
                                                     DEFENDANT(S).                 PER GENERAL ORDER 05-07

        The undersigned Magistrate Judge to whom the above-entitled case was referred, being of the opinion
that he/she should not hear said case by reason of:
 The Magistrate Judge's impartiality might reasonably be questioned.




HEREBY ORDERS the case reassigned by the Clerk in accordance
                                                         nce with General Order 05-07.




                 
      Date                                                      United States
                                                                         ates Magistrate
                                                                              Magi
                                                                                g st
                                                                                  strate Judge



                                              NOTICE TO COUNSEL FROM THE CLERK

         This case has been randomly referred to Magistrate Judge             Karen L. Stevenson                              .
On all documents subsequently filed in this case, please substitute the initials        KS         after the case number in
place of the initials of the prior judge, so that the case number will read      2:21-mc-00175 JAK(KSx)      . This is very
important because the documents are routed to the assigned judges by means of these initials




cc:     Previous Magistrate Judge


CV-110 (06/14)                           ORDER TO REASSIGN CASE UPON RECUSAL OF MAGISTRATE JUDGE
